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	Quick Links
	
	&nbsp;&nbsp;&nbsp;Chief Justice Rita B. Garman - Supreme Court 2017 Senate Budget Testimony
      &nbsp;&nbsp;&nbsp;Results of 2015 Circuit Court User Survey
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	&nbsp;&nbsp;&nbsp;Chief Justice Rita B. Garman - Supreme Court 2016 Budget Testimony

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	&nbsp;&nbsp;&nbsp;Chief Justice Rita B. Garman - Video to Illinois Problem-Solving Courts
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 Supreme Court Rules Committee Public Hearings
  Illinois Pattern Jury Instructions-Civil - 700.12G &amp; 700.12VG revised August 2016 
  Illinois Pattern Jury Instructions-Criminal - 24-25.02 &amp; 24-25.02A  approved July 29, 2016 
  Bar Admission Ceremonies 
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  Illinois Supreme Court Historic Preservation Commission (IL Supreme Court Historic Preservation Comm'n site)
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  Commission on Professionalism  (IL Supreme Court Comm'n on Professionalism site)
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Chief Justice Rita B. Garman  
welcomes you to the
Illinois Courts Website
(Video Message)

  








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Access to Justice





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Citizen Self-Help


           Supreme Court Policy on Access for Persons with Disabilities (Supreme Court only) 
           Petit Juror Handbook
           Grand Juror Handbook
           Consumers' Guide to Legal Help (American Bar Ass'n site) 
           Find 
           an Illinois Attorney (IL State Bar Ass'n site)
           Guide for Appeals to the Illinois  Appellate Court for Self-Represented Litigants
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           Child Support Information (IL Department of Healthcare &amp; Family Services  site)
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           Attorney been disciplined? (ARDC Site)
           Can't Afford a Lawyer? (IL Legal Aid site) 
           Becoming a Legal  Adult (IL State Bar Ass'n  site)
            Child Neglect or Abuse Court Proceedings (IL State Bar Ass'n site)
           Laws Protecting Military Personnel  (IL State Bar Ass'n  site)  
      



		 
      
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   The Third Branch - A Chronicle of the Illinois Supreme Court
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           How Cases Proceed Thru the Courts
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           U.S. Constitution (IL General Assembly site)  
           Illinois Constitution (IL General Assembly site) 
           Understanding the Illinois Constitution (IL State Bar Ass'n site)
           Law Day Information (IL State Bar Ass'n site) 
           Mock Trial Resources for Teachers (ILState Bar Association site)
       
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